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                            FOR THE DISTRICT t)'F NI~I~i!t..ND
                                               ClERWS OFFICE
 UNITED STATES OF AMERICA                              BAlEUqMtNALNO.         CCll-18-018
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                                                                DEPUY"
                                                             (Conspiracy to Manufacture,
        v.                                                   Distribute, and Possess with the Intent
                                                             to Distribute Alprazolam, 21 U.S.c.
 RY AN FARACE and                                  *         ~ 846; Distributing and Possessing with
 ROBERT SWAIN                                      *         the Intent to Distribute Alprazolam, 21
                                                   *         U.S.c. ~ 841; Maintaining Drug-
                                                   *         Involved Premises, 21 U.S.c. ~ 856;
                        Defendants.                *         Conspiracy to Commit Money
                                                   *         Laundering, 18 U.S.c. ~ 1956; Aiding
                                                   *         and Abetting, 18 U.S.c. ~ 2;
                                                   *         Forfeiture, 21 U.S.C. ~ 853,18 U.S.c.
                                                   *         ~ 982, 28 U.S.c. ~ 2461)
                                                   *
                                               *****
                                 SUPERSEDING           INDICTMENT

                                          COUNT ONE

(Conspiracy    to Manufacture,   Distribute, and Possess with Intent to Distribute Alprazolam)

       The Grand Jury for the District of Maryland charges that at all times relevant to this

Indictment:

       I.      Defendant RYAN FARACE is a resident of Maryland.

       2.       From at least November 2013 continuing to in or about June 2016. Defendant

RYAN FARACE resided at 3 William Court. Sparks. Maryland. and from in or about June 2016

to the present. Defendant RYAN FARACE has resided and continues to reside at 2303 Knox

Avenue. Reisterstown. Maryland.
       ,
       J.      Defendant RYAN FARACE has no known medical education. qualifications, or
                                                                                                       )
licensing in the State of Maryland or elsewhere.
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        4.     The Controlled Substances Act governs the manufacture, distribution, and

possession of controlled substances in the United States, including narcotics that are prescribed

by physicians and other licensed health care providers. The Controllcd Substances Act and its

implementing regulations set forth which drugs and other substances are "controlled substances."

Controlled substances are assigned to one of five schedules, Schedule I, II, III, IV, or V,

depending on their potential for abuse, likelihood of physical or psychological dependency,

accepted medical use, and accepted safety for use under medical supervision.

       5.      Title 21, United States Code, Section 841(a)(I), provides that "[elxcept as

authorized by this subchaptcr, it shall be unlawful for any person to knowingly or intentionally

... manufacture, distribute, or dispcnse, or possess with intent to manufacture, distribute, or

dispense, a controlled substanee."

       6.      Title 21, United States Code, Section 802(15), provides that the term

"manufacture" means "the production, preparation, propagation, compounding, or processing of

a drug or other substance, either directly or indireetly ... and includes any packaging or

repackaging of such substance or labcling or relabeling of its container; except that such term

does not include the preparation, compounding, packaging, or labeling of a drug or other

substance in conformity with applicable State or local law by a practitioner as an incident to his

administration or dispensing of such drug or substance in the course of his professional practice."

       7.      Title 21, United States Code, Section 802(11), provides that the term "distribute"

means to "deliver ... a eontrolled substance or a listed chemical."

       8.      Alprazolam is a synthetic analgesic that is classified as a Schedule IV controlled

substance. It is available in generie form, but is typically sold under the brand name "Xanax."




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         9.      Bitcoin is a form of digital currency (that is, a currency with an electronie-sourecd

unit of value). Unlike tiat currencies, such as the United States Dollar, Bitcoin do not exist in

any physical form. Bitcoin exist solely as entries on a publicly available electronic ledger that

records all Bitcoin transactions ever conducted. Unlike most fiat currency, Bitcoin is not issued

or controlled by any government, bank, or company, but rather is generated and controlled

automatically through computer software operating on a decentralized, "peer-to-peer" network.

Bitcoin is a convertible currency meaning that it has an equivalent value in tiat or convential

currency, and users can exchange it for fiat currency. The exchange rate for Bitcoin is not

determined by any government or centralized entity, but rather floats on the open market.

        10.     The tenn "dark-web" is a term used to refer to the portion of the internet that can

only be accessed through encrypted means.

        II.     A "dark-web marketplace" is a marketplace on the dark web that individuals can

use to buy and sell narcotics, among other illegal things.

        12.     Users of dark-web marketplaces typically use Bitcoin or other digital currency as

the means of payment for their transactions.

                                             The Charge

        13.     Beginning no later than November 2013 and continuing through at least in or

around June 2017, the Defendant,

                                          RYAN FARACE,

knowingly and willfully combined, conspired, confederated, and agreed with others known and

unknown to the Grand Jury, to manufacture, distribute, and possess with the intent to distribute

alprazolam, a Schedule IV controlled substance, in violation of Title 21, United States Code,

Section 841 (a)(!).


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                                      Manner     and Means         of the Conspiracy

           14.       It was part of the conspiracy          that Defendant   RYAN FARACE              purchased

narcotics manufacturing            equipment.   including     pill presses and counterfeit    "'Xanax" pill molds

through the internet.

           15.       It was further part of the conspiracy          that Defendant     RYAN FARACE            purchased

loose alprazolam         powder.

           16.       It was further part of the conspiracy          that Defcndant     RYAN FARACE            pressed the

loose alprazolam         powdcr into tablet or pill form, which he intended to rescmble                 legitimate     brand

name "'Xanax" pills because the pills were stamped "Xanax"                    on one side.

           17.       It was further part of the conspiracy          that Defendant     RYAN FARACE            solicited

orders for alprazolam        pills on dark-web      marketplaces,      and sold alprazolam         pills directly to

buyers with whom he communicated                 through encrypted       electronic    messages.

           18.       It was further part of the conspiracy          that Defendant     RYAN FARACE            shipped

completed        orders of alprazolam      pills through the U.S. Postal Service.

           19.       It was further part of the conspiracy          that Defendant     RYAN FARACE            paid the

postage for some of the packages            ofalprazolam        that he shipped using pre-paid debit cards that he

obtained    in the names of other people, including             the individuals   with the initials D.H. and D.O.

           20.       It was further part of the conspiracy          that Defendant     RYAN FARACE            received

Bitcoin in exchange         for the alprazolam     pills that he sold.


21 U.S.c.        S 846




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                                   COUNTS TWO, THREE AND FOUR

                 (Distributing   and Possessing with the Intent to Distribute Alprazolam)

           The Grand Jury for the District of Maryland further charges that:

           I.        Paragraphs 1-12 and 14-20 of Count One are incorporated here.

           2.        As set forth in the table below, on or about the following dates in the District of

Maryland and elsewhere, the Defendant,

                                             RYAN FARACE,

knowingly and intentionally distributed and possessed with the intent to distribute a quantity of

alprazolam, a Schedule IV controlled substance.

     Count                                Date                                     Quantity

       2                              May 10,2016                                  5,413 pills

       3                           November IS, 2016                               1,180 pills

       4                            January 31, 2017                                341 pills




21   u.s.c.      9841(a)(I)
21   u.s.c.      92




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                                         COUNT FIVE

                            (Maintaining Drug-Involved Premises)

       The Grand Jury for the District of Maryland further charges that:

        1.      Paragraphs 1-12 and 14-20 of Count One are incorporated here.

       2.       From at least in or around November 2013, and continuing until on or about

 February 14,2017, in the District of Maryland, the Defendant,

                                        RYAN FARACE,

knowingly and intentionally rented, used, and maintained a place, located at 3 William Court,

Sparks, Maryland, permanently and temporarily, for the purpose of manufacturing, distributing,

and possessing with the intent to distribute alprazolam, a Schedule IV controlled substance.


2 I U.S.C. ~ 856(a)(I)
18 U.S.c. ~ 2




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                                              COUNT SIX

                                    (Money Laundering     Conspiracy)

        The Grand Jury for the District of Maryland further charges that, at all times relevant to

this Indictment:

         1.         Paragraphs 1-12 and 14-20 of Count One are incorporated here.

         2.         Defendant ROBERT SWAIN is a resident of Maryland.

                                               The Charge

        3.          From at least July 2015 until in or around February 2017, the Defendants,

                                          RYAN FARACE and
                                           ROBERT SWAIN,

knowingly combined, conspired, confederated, and agreed with persons known and unknown to

the Grand Jury to conduct and attempt to conduct financial transactions having an effect on

interstate commerce which involved the proceeds of specified unlav.ful activity -       to wit,

conspiracy to manufacture, distribute, and possess with the intent to distribute alprazolam, in

violation of Title 2 I, United States Code, Section 846, and distribution and possession with the

intent to distribute alprazolam, in violation of Title 2 I, United States Code, Section 841 -     while

knowing that the property involved in the financial transactions represented the proceeds of some

form of unlawful activity and knowing that the transactions were designed in whole and in part

to conceal and disguise the nature, location, source, ownership, and control of the proceeds of

said specified unlawful activity, in violation of 18 U.S.C.    S   1956(a)(I )(B)(i).




18 U.S.C.     S   1956(h)




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                                              FORFEITURE

        The Grand Jury for the District of Maryland further charges that:

        I.         Pursuant to Rule 32.2, notice is hereby given to the Defendants that the United

States will seek forfeiture as part of any sentence in accordance with Title 21, United States

Code, Section 853, in the event of the Defendants' convictions under Counts One through Six of

this Indictment.

                                           Narcotics Forfeiture

        2.         Pursuant to Title 21, United States Code, Section 853(a), upon conviction of an

offense in violation of the Controlled Substances Act, as alleged in Counts One through Five, the

Defendant,

                                            RYAN FARACE,

shall forfeit to the United States of America:

                   a.     any property constituting, or derived from. any proceeds obtained, directly

or indirectly, as a rcsult of such violation; and,

                   b.     any property used, or intended to be used, in any manner or part, to

commit, or facilitate the commission of, such violation.

        3.         The property to be forfeited includes, but is not limited to, the following:

                   a.     All Bitcoins or other digital currency furnished or intended to be furnished

in exchange for controlled substances constituting proceeds traceable to such exchanges, and

used or intended to be used to facilitate a violation of the Controlled Substances Act, which

amount includes and is no less than 4,000 Bitcoin;

                   b.     At least $5,665,000, in that such sum in aggregate was furnished or

intended to be furnished in exchange for controlled substances and constitutes proceeds traceable


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to such exchanges, and was used or intended to be used to facilitate a violation of the Controlled

Substances Act;

                c.        the 2010 Lincoln Navigator with vehicle identification number

5LMJJ2J56AEJ02388;

                d.        the residence located at 3 William Court, Sparks, Maryland; and

                e.        the residence located at 2303 Knox Avenue, Reisterstown, Maryland.

                                    Monev Laundering      Forfeiture

       4.       Pursuant to Title 18, United States Code, Section 982(a)(1), upon conviction of

the offense alleged in Count Six, the Defendants,

                                         RYAN FARACE and
                                          ROBERT SWAIN,

shall forfeit to the United States of America, all property real or personal, involved in such

offense, and all property traceable to such property, that each of them, respectively, obtained.

       5.       The property to be forfeited includes, but is not limited to, the following:

                a.        a sum of money equal to the value of any property involved in the money

laundering offense for which each Defendant is convicted, which sum shall be at least

$5,665,000;

                b.        all property constituting the subject matter of the money laundcring

offense for which each Defendant has been convicted; and,

                c.        all property used to commit or facilitate the commission of the money

laundering offense for which each Defendant has been convicted. including:

                     I.   the 20 I0 Lincoln Navigator with vehicle identification number

                          5LMJJ2J 56AEJ02388;




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                      II.   the 2012 GMC pick-up truck with vehicle identification number

                            IGT125EG8CF149436;       and,

                     Ill.   the residence located at 2303 Knox Avenue, Reisterstown, Maryland.

                                              Substitute Assets

       6.       Pursuant to Title 21, United States Code, Section 853(p), ifany of the property

described above as being subject to forfeiture, as a result of any act or omission by the

Defendants:

                a.          cannot be located upon the exercise of due diligence;

                b.          has been transferred or sold to, or deposited with, a third person;

                c.          has been placed beyond the jurisdiction of the Court;

                d.          has been substantially diminished in value; or

                e.          has been comingled with other property which cannot be subdivided

                            without difficulty,

it is the intent of the United States to seek forfeiture of any other property of the Defendants up

to the value of the property charged with forfeiture in the paragraphs above, which amount is no

less than $5,6650,000 plus the value of 4,000 Bitcoin.


21 U.S.c.   S 853
18 U.S.c.   S 982(a)(l)
28 U.S.C.   S 2461(c)




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                                        Stephen M. Schenning
                                        Acting United States Attorney


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                                        ACTING UNITED STATES

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